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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

John H. Page )
1077 30" Street NW )
Apt. 411 )
Washington, D.C. 20007 )
Tel: 202 352 6952 )
)
Plaintiff )
)
v. )
)
Donald J. Trump, in His Official )
Capacity as President of the United )
States, Office of the President )
1600 Pennsylvania Avenue, N.W. )
Washington, D.C. 20500 )
)
)

Defendant

MOTION to permit PACER filing

Case No.
1:20-cv-00104

Plaintiff submits this motion requesting permission to make filings using PACER. Plaintiff

already has a PACER account but is not an attorney-at-law. Plaintiff understands and agrees

that if permission is given he must only make filings using PACER and must receive and

accept service of filings using PACER.

January

; pro se)

1077 30% Street NW, Apt 411
Washington, D.C. 20007
Telephone: 202°352 6952
john.h.page@gmail.com

RECEIVED
Mail Room

JAN 2 | 2020

Angela D. Caesar, Clerk of Court
U.S. District Court, District of Columbia

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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

CERTIFICATE OF SERVICE:

I hereby certify that on January 16, 2020, a true copy of the foregoing “Motion to permit PACER
filing” was served upon the court and the following by certified U.S. mail, postage prepaid:

Donald J. Trump, in His Official Capacity as President of the United States, Office of the
President 1600 Pennsylvania Avenue, N.W. Washington, D.C. 20500

William P, Barr, U.S. Attorney General, 950 Pennsylvania Avenue, NW, Washington, DC 20530

Jessie K. Liu, U.S. Attorney for the District of Columbia, 555 Fourth Street, NW, Washington
DC 20530

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